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     United States Attorney
 2   District of Arizona
 3   MARGARET PERLMETER
     Arizona State Bar No. 024805
 4   Assistant U.S. Attorney
     Two Renaissance Square
 5   40 N. Central Ave., Suite 1200
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 6   Telephone: 602-514-7500
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                                  CR-22-1507-PHX-SPL
11                          Plaintiff,
                                                         JOINT PROPOSED VOIR DIRE
12              v.                                              QUESTIONS
13   (1) Shane Killian Burns,
14   (2) Christina Danielle Patacky-Beghin,
15                          Defendants.
16             The parties have conferred and jointly submit two supplemental questions
17   incorporated as Questions 7(e) and 7(f) of the Court’s Criminal Voir Dire Questions. The
18   parties do not object to the Court’s Criminal Voir Dire questions.
19                            CRIMINAL VOIR DIRE QUESTIONS
20   1.        Statement of the Case
21             a.    Have any of you read or heard anything about this case from any source
22   whatsoever?
23             b.    Given this brief description of the facts, is there anything about this case
24   that would cause you to believe that you could not consider the evidence fairly and
25   impartially according to the law?
26   2.        Government
27             a.    Counsel for the government please stand.
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 1             b.       The United States of America is represented by Margaret Perlmeter,
 2   Assistant United States Attorney.
 3             c.       Do any of you know counsel, or the United States Attorney, or any of the
 4   employees in the United States Attorney Office on any basis, social, professional or
 5   otherwise?
 6             d.       Counsel, please introduce your investigator.
 7             e.       Do any of you know the investigator or any employees of his/her office on
 8   any basis, social, professional or otherwise?
 9   3.        Defendants
10             a.       Defendants and Defendants’ Counsel please stand.
11             b.       The Defendants in this case are Shane Killian Burns and Christina Danielle
12   Patacky-Beghin. Mr. Burns is represented by Larry Kazan and Ms. Patacky-Beghin is
13   represented by Jason Squires
14             c.       Do any of you know these individuals on any basis, social, professional or
15   otherwise?
16             d.       Do any of you know any of the employees in counsel’s office on any basis,
17   social, professional or otherwise?
18   4.        Jurors
19             a.       Did anyone among this jury panel know each other, or work together or
20   serve on jury panels together before assembling here today?
21   5.        Time Qualify & Hardship
22             a.       I expect to conduct trial on these dates and times:
23             b.       Would the length of the trial create an undue hardship for any of you?
24             c.       Does anyone have any problem with vision, hearing, or anything that would
25   cause you to have difficulty from observing and sitting for long periods of time?
26             d.       Do any of you have any other physical difficulty, health problems, or home
27   problems that might interfere with your ability to serve as a juror in this case?
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 1   6.        Witnesses and Third Parties
 2             a.    During the trial of this case, witnesses may be called to testify on behalf of
 3   the parties. Do any of you know or have you ever heard of any of these people?
 4             b.    Do any of you know or have you ever heard of any of these people?
 5                   i. (If response is yes) Would your knowledge or experience with any of
 6   these parties or organizations affect your ability to serve fairly and impartially in this case?
 7   7.        Relevant Past
 8             a.    Have you or any members of your family, including brothers, sisters,
 9   parents or children, ever been the victims of criminal conduct?
10                   i. (If response is yes) Please explain including what the incident was, what
11   police agency investigated, did you have to make a statement, and was the responsible
12   party apprehended?
13                   ii. (If response is yes) Do you think this experience would prevent you from
14   being fair and impartial in this case?
15             b.    Have you or any members of your family ever been convicted of a felony?
16                   i. (If response is yes) Which family member, what offense, and what was
17   the disposition?
18                   ii. (If response is yes) Do you think this experience would prevent you from
19   being fair and impartial in this case?
20             c.    Have you or any members of your family ever served in the capacity of law
21   enforcement officer? By law enforcement officer, I am including not only police officers,
22   but also employees of law enforcement agencies, military police, ICE, border patrol, DEA,
23   ATF, etc.
24                   i. (If response is yes) Do you think this relationship would prevent you
25   from being fair and impartial in this case?
26             d.    Have any of you or members of your family been a party or witness in any
27   litigation (excluding domestic relations, traffic, or probate)?
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 1                   i. (If response is yes) Do you think this experience would prevent you from
 2   being fair and impartial in this case?
 3             e.    *Have any of you had any experience involving yourself, any member of
 4   your family, or any close friend that relates to the use or possession or sale of illegal drugs
 5   or narcotics?
 6                   i. (If response is yes) What type of drug or drugs, what was your reaction,
 7   what happened to the person involved with the drugs, did this person’s involvement with
 8   drugs have any affect on you or your family?
 9                   ii. Do you think this experience would prevent you from being fair and
10   impartial in this case?
11             f.    *Have any of you, any member of your immediate family, or any of your
12   close friends ever been involved in a drug investigation by either law enforcement
13   authorities or an employer, whether or not such investigation led to any charges being filed?
14                   i. (If response is yes) Do you think this experience would prevent you from
15   being fair and impartial in this case?
16   8.        Personal Views
17             a.    There will be witnesses called during this trial who are members of law
18   enforcement and who may have been in that profession for a number of years. Do any of
19   you feel that their testimony must be given greater or lesser weight solely because of their
20   employment and experience in law enforcement?
21             b.    Some of the participants in this trial are ethnic minorities. Has anyone had
22   any contact or experience with ethnic minorities which would make it difficult to render a
23   fair and impartial verdict in this matter?
24   9.        Legal Knowledge and Application
25             a.    Do any of you or any of the members of your family have any legal
26   training?
27                   i. (If response is yes) Do you think this would prevent you from being fair
28   and impartial in this case?


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 2           b.     I will instruct you on the law at the conclusion of the case. If selected as a
 3   juror, you will take an oath to follow the law. Do any of you think you would have trouble
 4   following the law if you disagree with it?
 5           c.     If selected as a juror, would any of you have trouble rendering a verdict
 6   based solely on the evidence presented during the trial, setting aside any personal beliefs,
 7   opinions, or biases you might have?
 8           d.     In a civil case the burden of proof is a preponderance of the evidence. This
 9   is a criminal case in which the government must prove guilt beyond a reasonable doubt.
10   Does anyone have any difficulty in holding the government to its burden?
11           e.     Here are some fundamental principles of law:
12                        1. The fact that an indictment has been filed raises no presumption
13                           whatsoever of the guilt of the defendant.
14                        2. The United States government must satisfy you beyond a reasonable
15                           doubt of the guilt of the defendant.
16                        3. The defendant does not have any obligation to testify or to produce
17                           any evidence and you may not draw an adverse inference if the
18                           defendant chooses not to testify.
19                        4. The defendant is presumed to be innocent until his guilt is
20                           established beyond a reasonable doubt.
21                        5. You must wait until all of the evidence has been presented before
22                           making up your minds as to the innocence or guilt of the defendants.
23           f.     Does anyone believe that they would have any difficulty following these
24   principles of law?
25   10.     Easel Questions
26           a.     Starting with Juror Number One, please stand and answer the questions.
27                        1. Juror number
28                        2. The general location of your residence


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 1                      3. Length of time at current residence
 2                      4. Education after high school, if any. State your major.
 3                      5. Marital status
 4                      6. Number of children. Ages of children if under 18.
 5                      7. Employment
 6                          Yourself – current job and types of jobs throughout lifetime.
 7                          Spouse – current job and types of jobs throughout lifetime.
 8                      8. Prior jury service – civil or criminal
 9   11.      Final Questions
10            a.    Does anyone have any other reason whatsoever that they believe will
11   preclude him or her from serving as a fair and impartial juror in this case?
12            b.    Counsel for the government, do you have any further questions at this time?
13            c.    Counsel of the defendants, do you have any further questions at this time?
14   12.      Private Questions
15            a.    If a juror wishes to answer a question privately, the juror will be requested,
16   by number, to remain in the courtroom during recess.
17         Respectfully submitted November 13, 2023.
18
                                                       GARY M. RESTAINO
19                                                     United States Attorney
                                                       District of Arizona
20
                                                       s/ Margaret Perlmeter
21                                                     MARGARET PERLMETER
22                                                     Assistant U.S. Attorney

23                                                     s/ for Lawrence I. Kazan with permission
                                                       LAWRENCE I. KAZAN
24                                                     Attorney for Defendant Burns

25                                                     s/ for Jason Squires with permission
                                                       JASON SQUIRES
26                                                     Attorney for Defendant Patacky-Beghin
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 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that on November 13, 2023, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 3   Notice of Electronic Filing to the following CM/ECF registrants: Lawrence Kazan, Jason
 4   Squires.

 5   s/Beth Hojnacki
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